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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

LEAVERT MCKINNEY,                         )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )   Case No. 2:15-cv-01599-KOB-JHE
                                          )
ORLANDA WALKER,                           )
                                          )
      Defendant.                          )



                          MEMORANDUM OPINION

      The magistrate judge filed a report on February 2, 2017, recommending that the

court grant the defendant’s motion for summary judgment. (Doc. 17). Although the

court advised the parties of their right to file specific written objections within

fourteen days, no party has filed any objections.

      Having carefully reviewed and considered de novo all the materials in the court

file, including the report and recommendation, the magistrate judge’s report is hereby

ADOPTED and the recommendation is ACCEPTED. Accordingly, the court finds

that the defendant’s motion for summary judgment is due to be GRANTED, the court

finding no genuine issues of material fact exist.
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DONE and ORDERED this 27th day of February, 2017.




                                   ______________________________
                                     KARON OWEN BOWDRE
                                  CHIEF UNITED STATES DISTRICT JUDGE
